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                    UNITED STATES COURT OF APPEALS                        FILED
                                                                           JAN 27 2023
                           FOR THE NINTH CIRCUIT
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
PATRICIA PRITCHARD, as parent on        No. 22-80136
behalf of minor C.P.; NOLLE PRITCHARD,
as parent on behalf of minor C.P.,      D.C. No. 3:20-cv-06145-RJB
                                        Western District of Washington,
                Plaintiffs-Respondents, Tacoma

 v.                                             ORDER

BLUE CROSS BLUE SHIELD OF
ILLINOIS,

                Defendant-Petitioner.

Before: CLIFTON and SANCHEZ, Circuit Judges.

      The court, in its discretion, denies the petition for permission to appeal the

district court’s November 3, 2022 order granting class action certification. See

Fed. R. Civ. P. 23(f); Chamberlan v. Ford Motor Co., 402 F.3d 952 (9th Cir.

2005).




AB/MOATT
